Case 3:17-cv-00072-NKM-JCH Document 918-12 Filed 01/13/21 Page 1 of 3 Pageid#:
                                  15800




                  EXHIBIT 12
        Case 3:17-cv-00072-NKM-JCH Document 918-12 Filed 01/13/21 Page 2 of 3 Pageid#:
                                          15801



From:                              Edward ReBrook, ESQ <rebrooklaw@gmail.com>
Sent:                              Friday, October 30, 2020 5:29 PM
To:                                Yotam Barkai
Cc:                                isuecrooks@comcast.net; James Kolenich; David Campbell; Justin Gravatt;
                                   bryan@bjoneslegal.com; edward@rebrooklaw.com; richardbspencer@icloud.com;
                                   richardbspencer@gmail.com; christopher.cantwell@gmail.com;
                                   dillon_hopper@protonmail.com; azzmador@gmail.com;
                                   matthew.w.heimbach@gmail.com; eli.f.mosley@gmail.com; Eli Mosley;
                                   eli.r.kline@gmail.com; Phillips, Jessica E; Brittany Zhang; Mike Bloch; Calendar Dist
                                   Group; Errol Eisner; Acacia Dietz
Subject:                           Re: Sines v. Kessler


CAUTION: External email. Please do not respond to or click on links/attachments unless you recognize the sender.




As discussed, no one will be there. I have no POC’s for the Nationalist Front, never have and likely never will. You all
pretend like you don’t understand this extremely basic concept, but I’m sure with your combined educations and
intellect, somebody will be able to figure it out. You might as well demand that I assemble the board of Compuserve.
Email me directly if there’s something within the realm of possibility I can do for you.

Best regards,


W. EDWARD REBROOK, IV
Attorney & Counselor at Law
THE REBROOK LAW OFFICE
6013 Clerkenwell Court
Burke, Virginia 22015
Mobile: 571-215-9006
Email: edward@rebrooklaw.com


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and delete this message and all copies and backups thereof. Thank you.



         On Oct 30, 2020, at 14:28, Yotam Barkai <ybarkai@kaplanhecker.com> wrote:


         All,

         The deposition of the Nationalist Front is scheduled to take place at 9:30 a.m. ET on Monday, November
         2, 2020.

         Video
         Video and exhibits for the deposition will be displayed over Zoom. The link to join the Zoom meeting is:
                                                              1
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                                  15802

 https://tsgreporting.zoom.us/j/94614945474?pwd=aHEyMUdWamVaT09mdEdZcVpKOTNOZz09

 Meeting ID: 946 1494 5474
 Passcode: 875964

 Audio
 Each participant may choose to join his/her audio by either (1) computer audio through Zoom or (2)
 phone, using the below dial-in information. If you choose to use your phone, please ensure that your
 computer audio is turned off to prevent feedback.

 With the exception of the witness and counsel for the witness, we ask that you remain on mute when
 you are not speaking.

 Phone Dial-in Info:
 One tap mobile
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 +13017158592,,94614945474#,,,,,,0#,,875964# US (Germantown)

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      +1 301 715 8592 US (Germantown)
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      +1 253 215 8782 US (Tacoma)
      +1 346 248 7799 US (Houston)
      +1 669 900 9128 US (San Jose)

 Meeting ID: 946 1494 5474
 Passcode: 875964

 Find your local number: https://tsgreporting.zoom.us/u/aboNzOnKaj

 Please contact TSG Reporting if you have any technology-related questions or concerns.

 Thank you.

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 New York, New York 10118
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